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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff,                    Case Number 14-20117
                                                      Honorable David M. Lawson
 v.

 XAVIER GIOVANNI DELEON,

                   Defendant.
 __________________________________/

         OPINION AND ORDER DENYING MOTION TO SUPPRESS EVIDENCE

        Xavier Giovanni Deleon, charged with various drug crimes, has filed a motion to suppress

 evidence seized from his home during the execution of a search warrant. He argues that the

 supporting affidavit did not establish probable cause that drug-related evidence would be found at

 that location because it contained very few hard facts connecting Deleon to the drug crimes, and the

 conclusions were unsupported and uncorroborated. He also contends that the affidavit does not

 contain enough information to establish that the house searched actually belonged to him. The Court

 heard oral argument on January 27, 2015, and now concludes that the search warrant contained facts

 from which the magistrate could find probable cause that contraband and evidence of the federal

 crimes would be found at the premises. The affiant established that the confidential informant was

 reliable, and that the informant furnished information listed in the affidavit that connected the

 defendant’s criminal activity to the premises. Therefore, the Court will deny the motion to suppress

 the seized evidence.
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                                                  I.

        On May 16, 2014, a federal grand jury indicted twenty-six people, including defendant

 Xavier Giovanni Deleon, in a ten-count superseding indictment charging various drug and firearm

 crimes. The government alleges that the defendants participated in a drug trafficking organization

 led by Manolo Alfonso Garza, that distributed multiple kilogram quantities of cocaine and heroin

 on a monthly basis throughout the Detroit Metropolitan area. Garza apparently received narcotics

 from his family in Mexico, who coordinated shipments of the narcotics to Chicago, South Carolina,

 and Detroit. Garza allegedly provided the narcotics to his top distributors for sale.

        On February 8, 2014, the Drug Enforcement Agency (“DEA”) obtained warrants to search

 eight properties associated with members of the drug trafficking organization. Many of the facts

 relating to the eight separate premises were common, and the DEA presented a single affidavit in

 support of all eight search warrants. The affidavit, predictably, was lengthy: it consisted of 106

 paragraphs over 40 pages. The allegations pertaining to the residence about which Deleon

 complains, 22871 Sherry Drive, Brownstown, Michigan, however, are limited to ten or fewer

 paragraphs. Chad Hermans, an agent with the DEA, signed the affidavit.

        According to Hermans, his statements in the affidavit were based on his participation in the

 investigation, oral and written reports from law enforcement officers, physical surveillance, and

 information obtained from a review of telephone toll records. The affidavit also relied heavily on

 a confidential informant, who had been helping Garza wire transfer small amounts of drug proceeds

 to Mexico. Hermans averred that the informant was credible and reliable because past information

 he supplied had been corroborated independently in previous law enforcement operations,

 information gathered from public and law enforcement databases, surveillance conducted by DEA


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 agents, and other members of the drug trafficking organization. Hermans noted that the informant

 provided information directly related to a seizure of three kilograms of cocaine and one kilogram

 of heroin on July 2, 2013 and had provided valid telephone numbers for members of the drug

 trafficking organization every time they stopped using their previous phones. And the affidavit

 stated that the informant had provided information on vehicles that the drug trafficking organization

 uses, which agents corroborated.

        The home located at 22871 Sherry Drive, Brownstown, Michigan was among the eight

 properties that the DEA sought authority to search. The affidavit described the home as “Target

 Premises 7,” which “is believed to be the current residential address of Xavier DELEON and is used

 to facilitate the Garza drug trafficking organization.” Search Warrant Aff., dkt. #241-1 ¶ 30.

        The affidavit contained several factual allegations that attempted to connect Deleon with

 22871 Sherry Drive. Hermans stated that the informant “has provided addresses that are currently,

 or have been used previously, by members of the GARZA DTO, which have been independently

 corroborated by your Affiant.” Search Warrant Aff. ¶ 35 n.1. As pertinent here, the confidential

 informant indicated that “Deleon has full access to all of Garza’s ‘stash’ locations and most likely

 would use Deleon’s private residence, Target Premises 7, as a ‘Stash’ location.” Search Warrant

 Aff. ¶ 94. The affidavit also described law enforcement surveillance at 22871 Sherry Drive. On

 December 10, 2013, about two months before the search, agents observed Deleon parked at that

 address. Search Warrant Aff. ¶ 92. Officers also followed Deleon to his “known residence at 22871

 Sherry, Brownstown, Michigan” on January 16, 2014 after observing Deleon’s pickup truck parked

 at Target Premises 5 next to co-defendant Garza’s F-150, Brandon Jaime’s 2007 Chevy Tahoe, and

 Suarez’s F-150. Search Warrant Aff. ¶¶ 99, 105.


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        The affidavit also described in detail Deleon’s role in the drug trafficking organization.

 Hermans stated that the confidential informant told him that Garza tasked Deleon with installing

 safes at all of Garza’s stash houses, including a safe at a residence that a confidential informant had

 obtained for Garza. Search Warrant Aff. ¶ 90. The affidavit also stated that Suarez, one of the

 members of the drug trafficking organization, had begun training Deleon to take Suarez’s place as

 a drug courier. Garza apparently was concerned that Suarez’s criminal history would draw law

 enforcement attention. Deleon, the affidavit notes, has no known criminal history.

        The affidavit related the contents of wire communications intercepted by agents on

 December 9, 2013 from Garza’s cell phone when talking with his supplier in Mexico. During the

 conversation, Garza informed his supplier that “I still have two,” which agents believed to be

 referring to kilograms of cocaine or heroin. Search Warrant Aff. ¶ 91. Agents believed that Garza

 would try to distribute those kilograms the following day to Suarez and Deleon.

        The affidavit described agents’ efforts to confirm those suspicions through surveillance. On

 December 10, 2013, at approximately 10:15 a.m., agents located Deleon at 4847 Proctor Street

 through a GPS location tracker on his cell phone. Officers observed Deleon driving a red Jeep

 Grand Cherokee, a car that Garza previously drove. The confidential informant stated that the

 vehicle contained a hidden compartment or “trap.” Per the affidavit, agents observed Deleon drive

 the red Jeep to several addresses for a short duration of time that morning and early afternoon.

 Officers also observed Suarez and Garza park at one of those addresses, 1127 Detroit Avenue, and

 enter the residence with an unidentified white male.

        Hermans explained in the affidavit that on December 11, 2013, agents began intercepting cell

 phone calls between Garza and his Mexican source discussing arrangements for couriers to pick up


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 narcotics proceeds. The source sending the courier to pick up the money was named “Bigotes.”

 Garza informed his Mexican source that he was not ready for the money pickup because he still had

 two kilograms of narcotics. However, the source still wanted the couriers to pick up whatever

 money was ready. Garza implied that he owed $315,000 and could pay about $200,000.

        Hermans averred that on December 12, 2013, agents observed Suarez, Garza, and Deleon

 at 1127 Detroit Avenue at approximately 10:00 a.m. Suarez and Deleon left the premises in separate

 vehicles about 11:30 a.m. Agents set up surveillance around 25109 Pamela Street, Taylor, Michigan

 at approximately 11:50 a.m. Agents observed Suarez’s Ford F-150 pickup truck in front of the

 residence and a black Chrysler 200M with a Georgia license plate. Around 1:12 p.m., agents

 observed Deleon exit a tan GMC pickup truck, a vehicle that the confidential informant said that

 Deleon is known to drive. Deleon exited the area in the truck at about 1:20 p.m. The Chrysler

 200M, occupied by two Hispanic females, left the premises around the same time. The affidavit

 stated that the confidential informant previously had told Hermans that Garza’s Mexican source

 liked using females as couriers to avoid detection.

        The affidavit continued, stating that troopers from the Ohio State Highway patrol conducted

 a traffic stop on the Chrysler 200M at approximately 2:23 p.m. while it was traveling South on I-75

 near Bowling Green, Ohio. The Ohio State Highway patrol conducted a K-9 sniff on the vehicle,

 which detected the presence of narcotics at the trunk of the vehicle. The affidavit stated that, upon

 opening the trunk, troopers observed a blue gym bag that contained several heat sealed packages of

 United States currency totaling $211,150. The driver and passenger denied all knowledge of the

 currency in the trunk and were later released by the Ohio State Highway patrol pending additional

 investigation.


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        Following the money seizure, the confidential informant stated that Deleon stopped utilizing

 the red Jeep Cherokee. The informant believed that the vehicle was being stored at Target Premise

 2 in an effort to avoid detection from law enforcement.

        The affidavit also related that on January 16, 2014, officers continued surveillance of Deleon.

 They observed his GMC pickup, Garza’s F-150, Suarez’s F-150, Brandon Jaime’s 2007 Chevy

 Tahoe, and a 2009 Dodge Ram parked at Target Premises 5. Agents later observed Deleon leave

 in his GMC truck, where he was followed to his “known residence” at 22871 Sherry, Brownstown,

 Michigan.

        The search warrant issued on February 8, 2014 permitted law enforcement to search 22871

 Sherry Drive, Brownstown, Michigan for evidence relating to the drug trafficking organization.

 Law enforcement executed the search warrant on February 12, 2014 and recovered a Bushmaster

 Carbon 15 rifle with a 37mm grenade launcher; a universal rifle; a Mossberg 12 gauge shotgun; a

 Marlin .35 Caliber rifle; a mosin-Nagant M-19 rifle; a Marlin .22 caliber rifle; three rifle magazine

 cartridges loaded with .223 ammunition for the Bushmaster Carbon 15 rifle; a bullet proof vest; and

 two digital scales.

        Deleon has moved to suppress all that evidence.

                                                  II.

        Under the command of the Fourth Amendment, “no Warrants shall issue, but upon probable

 cause, supported by Oath or affirmation, and particularly describing the place to be searched, and

 the persons or things to be seized.” U.S. Const. amend. IV; see Mapp v. Ohio, 367 U.S. 643, 654-55

 (1961). “In order for a judicial officer to issue a warrant, law enforcement officials must present

 evidence from which the magistrate judge can conclude” that probable cause exists. United States


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 v. Williams, 224 F.3d 530, 532 (6th Cir. 2000) (citing Illinois v. Gates, 462 U.S. 213, 238 (1983));

 see also United States v. Grubbs, 547 U.S. 90, 94-95 (2006). On the continuum between doubt and

 certainty, “[p]robable cause arises if there are ‘reasonable grounds for belief, supported by less than

 prima facie proof but more than mere suspicion.’” United States v. Coffee, 434 F.3d 887, 892 (6th

 Cir. 2006) (quoting United States v. Bennett, 905 F.2d 931, 934 (6th Cir. 1990)). The test for

 probable cause calls for an assessment of whether there is “a ‘fair probability,’ given the totality of

 the circumstances, that contraband or evidence of a crime will be found in a particular place.”

 United States v. Davidson, 936 F.2d 856, 859 (6th Cir. 1991) (quoting United States v. Loggins, 777

 F.2d 336, 338 (6th Cir. 1985)). A magistrate properly reaches this conclusion only when the warrant

 affidavit sets forth sufficient facts that provide a “‘substantial basis’ for concluding that ‘a search

 would uncover evidence of wrongdoing.’” United States v. Sonagere, 30 F.3d 51, 53 (6th Cir. 1994)

 (quoting Gates, 462 U.S. at 236). As the Sixth Circuit has explained, the concept of probable cause

 is not easily reducible to a simple formula:

        Probable cause is defined as reasonable grounds for belief, supported by less than
        prima facie proof but more than mere suspicion, that there is a fair probability that
        contraband or evidence of a crime will be found in a particular place. This
        determination does not lend itself to the application of rigid legal rules. . . . Rather,
        the probable cause standard is a practical nontechnical conception wherein we deal
        with probabilities which are the factual and practical considerations of everyday life
        on which reasonable and prudent men, not legal technicians, act. Stated otherwise,
        probable cause is a fluid concept — turning on the assessment of probabilities in
        particular factual contexts — not readily, or even usefully, reduced to a neat set of
        legal rules.

 United States v. King, 227 F.3d 732, 739 (6th Cir. 2000) (citations omitted). To encourage law

 enforcement officers to seek warrants, the Supreme Court has counseled that in close calls, doubtful

 warrants should be upheld. Gates, 462 U.S. at 237 n.10. And “‘reviewing courts are to accord the




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 magistrate’s determination ‘great deference.’” United States v. Allen, 211 F.3d 970, 973 (6th Cir.

 2000) (en banc) (quoting Gates, 462 U.S. at 236).

         Of course, “[t]here must . . . be a ‘nexus between the place to be searched and the evidence

 sought.’” United States v. Carpenter, 360 F.3d 591, 594 (6th Cir. 2004) (en banc) (quoting United

 States v. Van Shutters, 163 F.3d 331, 336-37 (6th Cir. 1998)). But “[p]robable cause is described

 as a fair probability — not an absolute certainty — that evidence of the crime will be found at the

 location.” United States v. Martin, 526 F.3d 926, 936 (6th Cir. 2008) (quoting Gates, 462 U.S. at

 238).

         An informant’s tip may, under certain circumstances, establish probable cause. In Illinois

 v. Gates, the Court adopted a totality of the circumstances test for determining whether an

 informant’s tip establishes probable cause. The Court held that “[t]he task of the issuing magistrate

 is simply to make a practical, commonsense decision whether, given all the circumstances set forth

 in the affidavit before him, including the ‘veracity’ and ‘basis of knowledge’ of persons supplying

 hearsay information, there is a fair probability that contraband or evidence of crime will be found

 in a particular place.” Gates, 462 U.S. at 238.

         An informant’s “veracity” and “basis of knowledge” are highly relevant to evaluating

 whether an informant’s tip establishes probable cause. Id. at 230. Veracity involves the credibility

 of the informant or, alternatively, the reliability of the informant’s report. Gates, 462 U.S. at 229.

 A magistrate must be informed about some of the underlying circumstances indicating that the

 informant was credible or that his information was reliable. Aguilar v. Texas, 378 U.S. 108, 114

 (1964). “Basis of knowledge” refers to the particular means by which the informant obtained his

 information. Gates, 462 U.S. at 228. A magistrate judge reasonably may infer from detailed


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 information supplied by an informant that he gained his information in a reliable way. Spinelli v.

 United States, 393 U.S. 410, 416 (1969).

        Deleon argues that there was no probable cause to issue the warrant because the confidential

 source’s allegations about Deleon’s alleged criminal activity are conclusory. Deleon argues, in other

 words, that the affidavit contains no information about the informant’s basis of knowledge. His

 argument focuses on a significant weakness in the affidavit. The affidavit links Deleon to the drug

 trafficking organization largely through the confidential informant. The informant apparently told

 agents that “Deleon was previously tasked with installing safes at all of Garza’s ‘stash’ houses,”

 including the stash house the informant obtained for Garza, and was being trained to take Suarez’s

 place as a narcotics courier. Search Warrant Aff. ¶ 90. However, the affidavit does not state how

 the confidential informant came upon this information. There is no evidence that the informant

 observed Deleon install the safes, participated in training Deleon to become a narcotics courier, or

 learned the information alleged in the affidavit from Garza or Suarez. Nor does the affidavit state

 how the informant knew Deleon, if at all.

        Nonetheless, that deficiency is not fatal to the search warrant in this case, because the

 confidential informant’s reliability was so well established that it fortified the anemic showing of

 his knowledge base. The Supreme Court explained that “veracity” and “basis of knowledge” are

 not “elements [that] should be understood as entirely separate and independent requirements to be

 rigidly exacted in every case.” Gates, 462 U.S. at 230. Instead, veracity and basis of knowledge

 “should be understood simply as closely intertwined issues that may usefully illuminate the

 commonsense, practical question whether there is ‘probable cause’ to believe that contraband or

 evidence is located in a particular place.” Ibid. “[A] deficiency in one may be compensated for, in


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  determining the overall reliability of a tip, by a strong showing as to the other, or by some other

  indicia of reliability.” Id. at 233. “[T]he duty of a reviewing court is simply to ensure that the

  magistrate had a substantial basis for concluding that probable cause existed.” Id. at 238-39

  (internal citations omitted).

          Moreover, the precedents do not prescribe any specific formula by which reliability is to be

  gauged, Allen, 211 F.3d at 975-76; as a general rule, however, the decisions have required either

  independent corroboration by law enforcement officials or some showing that the informant is

  otherwise reliable, such as a history of furnishing information that turned out to be accurate. See

  United States v. Helton, 314 F.3d 812, 819 (6th Cir. 2003) (noting that “a court must consider the

  veracity, reliability, and the basis of knowledge for that information as part of the totality of the

  circumstances for evaluating the impact of that information”); United States v. Smith, 182 F.3d 473,

  483 (6th Cir. 1999) (stating that “if the prior track record of an informant adequately substantiates

  his credibility, other indicia of reliability are not necessarily required”); United States v. Frazier, 423

  F.3d 526, 532 (6th Cir. 2005) (observing that “in the absence of any indicia of the informants’

  reliability, courts insist that the affidavit contain substantial independent police corroboration”). The

  focus must be on the totality of circumstances and not their granular components.

          The affidavit contains overwhelming evidence that the confidential informant’s allegations

  are reliable: officers verified a substantial portion of the information that the informant supplied.

  For instance, the affidavit notes that the informant, an associate of Garza, provided valid telephone

  numbers for members of the drug trafficking organization every time they stopped using their

  previous phones. Search Warrant Aff. ¶ 35 n.1. On one occasion, the informant contacted Garza

  in the presence of agents on May 14, 2013. Id. ¶ 52. When Garza did not answer, the informant


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  contacted Suarez; a few minutes later Suarez called the informant and told him to meet Garza at his

  mother’s house. Ibid.

          The informant also told agents in May 2013 that Garza was attempting to separate from his

  wife and was living at 25108 Pamela Street, Taylor, Michigan. Id. ¶ 55. On May 23, 2013, agents

  observed Garza at the Pamela Street address. Ibid. On June 7, 2013, the informant photographed

  and sent to agents Garza’s drug ledger that contained instructions to deposit money into specific

  Chase Bank accounts along with what appeared to be money that Garza’s drug customers owed. Id.

  ¶ 57. And, on November 4, 2013, the informant advised agents that the Melvindale Police

  Department had arrested Suarez for drunk driving. Id. ¶ 83. Agents verified Suarez’s arrest that

  day, inspected his car, and discovered a trap. Id. ¶ 85.

          Agents also verified some of the information that the informant provided about Deleon. The

  informant alleged that Suarez was training Deleon to replace him as a drug courier. Although agents

  did not observe Deleon transport drugs, they did observe Deleon pull up to several driveways and

  park for a short period of time, activity that agents believed was consistent with drug trafficking.

  Id. ¶¶ 61, 92, 94. Moreover, agents observed Deleon with Suarez and Garza on multiple occasions

  at other properties linked to the drug trafficking organization. The informant also told agents that

  Deleon drove a tan GMC pickup truck, bearing Michigan license plate CHF8166. Id. ¶ 94. Officers

  observed Deleon driving the GMC pickup on December 12, 2013. Ibid. The informant’s proven

  and corroborated reliability supported the magistrate’s determination of probable cause, despite the

  thin information about the source of his knowledge. See United States v. Weaver, 99 F.3d 1372,

  1377 (6th Cir. 1996) (“‘If, for example, a particular informant is known for the unusual reliability

  of his predictions of certain types of criminal activity in a locality, his failure, in a particular case,


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  to thoroughly set forth the basis of his knowledge surely should not serve as an absolute bar to a

  finding of probable cause based on his tip.’”) (quoting Gates, 462 U.S. at 233).

         Next, Deleon argues that there are no facts from which the issuing judge could conclude that

  22871 Sherry Drive was Deleon’s residence. That argument ignores the reality that “[s]earch

  warrants are not directed at persons; they authorize the search of ‘place[s]’ and the seizure of

  ‘things,’ and as a constitutional matter they need not even name the person from whom the things

  will be seized.” Zurcher v. Stanford Daily, 436 U.S. 547, 555 (1978); see also United States v.

  Pinson, 321 F.3d 558, 564 (6th Cir. 2003) (“[A]n affidavit in support of a search warrant does not

  need to name or describe the person who sold the drugs or name the owner of the property.”).

  Nonetheless, it can be said that a key fact in the probable cause finding that evidence would be found

  at the Sherry Drive residence was proof that Deleon was connected to the Garza drug trafficking

  organization, and the Sherry Drive house was connected to Deleon. The affidavit, however,

  furnished enough information to establish those links for the magistrate.

         The affidavit stated that the informant “provided addresses that are currently, or have been

  used previously, by members of the Garza DTO, which have been independently corroborated by

  your Affiant.” Search Warrant Aff. ¶ 35 n.1. The affidavit also stated that 22871 Sherry Drive was

  Deleon’s “known” residence. Id. ¶ 105 (“Deleon was followed to his known residence at 22871

  Sherry, Brownstown, Michigan”). Based on those allegations, a judge reasonably could conclude

  that Deleon resided at the Sherry Drive house.

         Deleon argues that the facts establishing Sherry Drive as his residence are insufficient

  because there are no allegations that Deleon owned or rented the premises, no evidence of

  intercepted calls that established his residence, no evidence that a vehicle was registered to Deleon


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  at the address, or any surveillance at the address consistent with narcotics activity. That is true; but

  an “affidavit is judged on the adequacy of what it does contain, not on what it lacks, or on what a

  critic might say should have been added.” United States v. Allen, 211 F.3d 970, 975 (6th Cir. 2000).

  What was furnished is sufficient to allow the magistrate to draw the common-sense conclusion that

  there was “a fair probability” that Deleon lived at the Sherry Drive house.

            Finally, Deleon argues that there are no facts or circumstances from which a magistrate could

  link the premises to the alleged criminal activity. He correctly asserts that the fact “that there is

  probable cause to arrest a person for a crime does not automatically give police probable cause to

  search his residence or other area in which he has been observed for evidence of that crime. If the

  rule were otherwise, ‘there would be no reason to distinguish search warrants from arrest

  warrants[.]’” United States v. Savoca, 739 F.2d 220, 224-25 (6th Cir. 1984) (citations omitted).

  Instead, “[t]here must be ‘a nexus between the place to be searched and the evidence to be sought.”

  Frazier, 423 F.3d at 532 (quoting United States v. Carpenter, 360 F.3d 591, 594 (6th Cir. 2004) (en

  banc)).

            The government notes that the Sixth Circuit has decided several cases upholding search

  warrants for the homes of known criminals — mostly drug dealers and manufacturers — based on

  the logical premise that incriminating evidence is likely to be found at the residences of drug dealers

  when there is probable cause to believe that an individual is a drug trafficker (and not merely in

  possession of controlled substance). United States v. Kenny, 505 F.3d 458, 461 (6th Cir. 2007)

  (upholding search of residence based on probable cause that the defendant was involved in the

  manufacture of a controlled substance in another location, and noting that “[i]n United States v.

  Miggins, 302 F.3d 384, 393-94 (6th Cir. 2002), we held, following a long line of precedents, that


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  a sufficient nexus existed to search the residence of a known drug dealer after he had been arrested

  for possession of cocaine.”); United States v. Miggins, 302 F.3d 384, 393-94 (6th Cir. 2002)

  (collecting cases); United States v. Blair, 214 F.3d 690, 696 (6th Cir. 2000); United States v. Jones,

  159 F.3d 969, 975 (6th Cir. 1998) (stating that “[i]n the case of drug dealers, evidence is likely to

  be found where the dealers live”); see also United States v. Yates, 132 F. Supp. 2d 559, 564-65 (E.D.

  Mich. 2001). Nonetheless, following the injunction that the probable cause determination cannot

  be “reduced to a neat set of legal rules,” King, 227 F.3d at 739, the court has stopped short of

  establishing a categorical rule that an arrest of a known criminal ipso facto justifies the search of his

  home. See Frazier, 423 F.3d at 532-33 (holding that “[w]here, as here, the warrant affidavit is based

  almost exclusively on the uncorroborated testimony of unproven confidential informants (none of

  whom witnessed illegal activity on the premises of the proposed search), the allegation that the

  defendant is a drug dealer, without more, is insufficient to tie the alleged criminal activity to the

  defendant’s residence”). Instead, the affidavit must allege facts establishing “a ‘fair probability,’

  given the totality of the circumstances, that contraband or evidence of a crime will be found in a

  particular place.” United States v. Davidson, 936 F.2d 856, 859 (6th Cir. 1991) (quoting United

  States v. Loggins, 777 F.2d 336, 338 (6th Cir. 1985)).

          The affidavit in this case provides the necessary nexus. The affiant averred that the residence

  “is believed to be the current residential address of Xavier Deleon and is used to facilitate the Garza

  drug trafficking organization.” Search Warrant Aff. ¶ 30. The informant indicated that “Deleon has

  full access to all of Garza’s ‘stash’ locations and most likely would use Deleon’s private residence,

  Target Premises 7, as a ‘Stash’ location.” Id. ¶ 94. The affidavit did not state why the informant

  believed Garza would use Deleon’s home as a stash location. But he provided substantial detail that


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  Garza used other addresses to “stash” money and proceeds from drug sales. See id. ¶ 79. And, as

  discussed already, there is overwhelming evidence that the informant was credible and reliable.

                                                             III.

         The facts supplied by the affidavit were sufficient for the magistrate to find probable cause

  to believe that evidence of the drug crimes would be found in Deleon’s premises. Because the

  affidavit furnished a proper basis to issue the search warrant, the resulting search of the Deleon’s

  house at 22871 Sherry Drive, Brownstown, Michigan, did not offend the Constitution.

         Accordingly, it is ORDERED that the motion to suppress evidence by defendant Xavier

  Giovanni Deleon [dkt. #241] is DENIED.

                                                                     s/David M. Lawson
                                                                     DAVID M. LAWSON
                                                                     United States District Judge

  Dated: February 3, 2015




                                                   PROOF OF SERVICE

                           The undersigned certifies that a copy of the foregoing order was served
                           upon each attorney or party of record herein by electronic means or first
                           class U.S. mail on February 3, 2015.

                                                             s/Susan Pinkowski
                                                             SUSAN PINKOWSKI




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